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Case 2:17-cv-00534-|\/|.]P Document 24 _ Filed 07/06/_17 Page 1 of 4
Case 2:17-cV-00534-RSL Document 21 F_i%ed G?!OSIK? Page 1 of 4 .

The Honorable Robert S. Lasnik

UN].TED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON

 

 

AT SEATTLE
HTC CORPORATION and HTC AMERlCA,
INC., ` CASE NO. 2:17~cv-534-RSL
Plajntiffs, STIPULATED MOTION AND .
[ ORDER APPROVING
V SECOND EXTENSION OF TIME TO
' , RESPOND TO COMPLAINT
TELEFONAKTIEBOLAGET LM ERICSSON NOTE ON MOTION CAL_ENDAR:
and ERICSSON, INC., _ July 5, 2017
Defendants. 7
STIPULATION

Plaintiil`s HTC Corporation and HTC `America, Inc. (together, HTC) and Defendants

_Telefonal<tiebolaget LM El‘iesson and Erlesson _Ine. (together, Ericsson) hereby stipulate as

follows:

WHEREAS, on April 6, 2017, HTC filed a eomplaint in this actionJ which alleges breach
of contraet, breach of the covenant of good faith and fair dealing, and promissory estoppel (ECF
No. 1); - _
' WI-[EREAS, on May 2, 20]7, this Court granted the Parties’ Stipulated Motion and
[Proposed] Order Approv:ing Aceeptance of Service of Sumrnons and Extension of Time to
Respond to Co'mpla;int CECF No. 19), allowing an extension of time to July 27, 2017, in order to

facilitate the Parties’ resolution of service of process issues;

STIPULATED MOTION AND {PRGPQSED] ORDER _
APPROV]NG SECOND EXTENSION OF TIME TO 7 Sgl;d§dr;?A%!£;/S§UE?SNE§§C

RESPOND TO COl\/IPLAINT - 1 1 . .\ . .
‘DL‘J\'I I'LF., WASI'IINGTON 98104-2682
(CASE NO- 2317-<>\"534',RSL) _ Tclcphan¢: {206) 676-1000
FHX; (206) 676,7001
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Case 2:17-cv-00534-|\/|.]P Document 24 Filed 07/06/17 Page 2 of 4
Case 2:17-cV-00534-RS§.. Document 21 §:i§ee!‘ 07105/17 Page 2 ct 4

WHEREAS, since the Court’s May 2, 2017 Order, the Parties have engaged in iilrther
license negotiations in Which a next meeting is being discussed to take place over the coming
Weel<s, and the _Parties seek to undertake these negotiations Without the expense and disrnptive
impacts of active litigation `

NOW _THEREFORE, the Pa_rties agree, subject to the Court's approval, as folloWs:

l. Ericsson’s deadline to move, answer, or otherwise respond to the Colnplaint is
extended to Septemher 25, 2017.

2. By entering this stipulation, no Party is Waiving any argument, lighter defense,

except as to issues related to service of summons

Dated: July 5, 2017 ` WILSON SONS]NI GOO.DRICH & ROSATI
_ Professional _Corp'oration '

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l Attorneysfor Plaintc_'ffs HTC Corporation and

HTC America, Inc.
§§ES§I]BNTQOS]CECONEEEDXTEIT§SION OF THV[E TO 315 FIFTH AVENUESOUTI\I,SUITE 1000
' OMP ` stigma Wi\snmc~ron 93104-2682
(CASE NO. 2:17-cv-534-RSL) Telephme: (206) 676170007

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Case 2:17-cv-00534-|\/|.]P Document 24 Filed 07/06/17 Page 3 of 4
Case 2:17-cv-00534-RSL Documen't 21 Filed 0?/€35517 Pag@ 3 014

DATED: July 5, 2017 SUl\/ll\/HT LAW GROU`P PLLC

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LM Ericsson and Ericsson, Inc.

[B.RQRQSED+ 0RDER _

GOOD CAUSE HAVING BEEN Sl-IOWN, it is hereby ordered that:
1. Ericsson’ s deadline to move, answer, or otherwise respond to HTC’s Cornplaint is

extended to Septernber 25, 2017.

2." Nothing in this Orde`r shall be construed as a Waiver of any argi.iment, right or
defense of any Party.
v 7 ,
DATED this (Q day of , 2017.

THE HE)NORABLE ROBERTS S. LASNIK
UNITED STATES DISTRICT JUDGE

l _sTIPULATED MortoN AND [PRePosED] oRDER ' SUMMIT LAW GROUP PLLC
§§P§OV§`IG SECOND EXTENSION OF T[N[E TO 315 FIFTH AVENUI~; SOUTH, SUITE1000
S ON . TO COMPLAINT “ 3 ` SE_=\TTI_E,Wi\sLIn\JGToN 93104-2682
(CASE NO. 2:17-cv-534-RSL) '1‘¢1@91166¢; (206) 616-1000

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' Attomeys for Defendants T`elefonaktiebolaget LM

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Case 2:17-cv-00534-I\/|.]F’4 Document 24 Filed 07/06/17 Page 4 of 4
Case 2117-cif-O{)B?,¢t-RSL.7 Docn:nent 21 §;ilet§ 07/057/1? Page 4 of 4

Presented by.‘

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Ericsson and Ericsson, Inc.

ST[PULATED MOTION AND [PROPOSED] ORDER
APPROVING SECOND EXTENSION OF TIM]E TO
RESPOND TO COM:PLAD.\?T - 4

(CASE NO. 2:17-ev-534~RSL)

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